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            EXHIBIT 6
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GA Department of Community Health (Jerry Dubberly)                              December 15, 2008

                                             Atlanta, GA

                                                                                      Page 1
                    IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF MASSACHUSETTS

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        IN RE:    PHARMACEUTICAL INDUSTRY

       AVERAGE WHOLESALE PRICE LITIGATION            MDL No. 1456

        -----------------------------------) Civil Action

        THIS DOCUMENT RELATES TO:                    No. 01-12257-PBS

       United States of America, ex. reI.            Hon. Patti Saris

       Ven-a-Care of the Florida Keys,

        Inc., v. Abbott Laboratories, Inc.,)

        civil Action No. 06-11337-PBS; and

        United States of America, ex. reI.           VIDEOTAPED

       Ven-a-Care of the Florida Keys,               DEPOSITION OF

        Inc., v. Dey, Inc., et. al., Civil           THE GEORGIA

       Action No. 05-11084-PBS; and United) DEPARTMENT OF

        States of America, ex. reI.                  COMMUNITY HEALTH

       Ven-a-Care of the Florida Keys,               by JERRY

        Inc., v. Boehringer Ingleheim                DUBBERLY

        Corp. et. al., Civil Action

        No. 07-10248-PBS.                            DECEMBER 15, 2008

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GA Department of Community Health (Jerry Dubberly)                                              December 15, 2008

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                                             Page 102                                                 Page 104

  1       A. No.                                         1    compounded drug and an admixture, if any?
  2       Q. (By Mr. Lavine) Did any representative      2        A. We consider admixtures to be separate
  3   from Roxane or Boehringer-Ingelheim ever tell the 3     and not subject to compound billing, admixtures
  4   State of Georgia that it was purposely creating    4    being a simple admixture of a medication with a
  5   larger spreads on its drugs so that its drugs      5    diluent like sterile water, normal saline, D5W,
 6    would be more profitable to its customers, and     6    for example.
 7    thereby it could increase its sales?               7        Q. SO an admixture would be reimbursed
 8           MR. ROBBEN: Object to the form.             8    utilizing the normal lower-of methodology we've
 9        A. No.                                         9    discussed?
10        Q. (By Mr. Lavine) Sototheextentthat          10        A. It would.
11    Georgia has knowledge of those types of           11        Q. SO that would include the A WP minus 10
12    allegations, would it be fair to say that it came 12    or 11 percent approach?
13    from sources other than communications from drug 13         A. Yes.
14    companies?                                        14           MR. LAVINE: Except for any redirect
15           MR. ROBBEN: Object to the form.            15    that we might need to do at the end of the day,
16        A. Yes.                                       16    we're finished and ready to pass the witness.
17        Q. (By Mr. Lavine) And some of its            17           MR. ROBBEN: Okay. It will just take
18    information Georgia accumulated on its own?       18    me a couple of minutes to get my stuff in order.
19           MR. ROBBEN: Object to the form.            19           MR. LAVINE: Sure. So let's take a
20        A. Yes.                                       20    couple-minute break.
21        Q. (By Mr. Lavine) Did anybody from the       21           THE VIDEOGRAPHER: Going off the record
22    State of Georgia, to your knowledge ever tell     22    at 10:58 a.m.
                                             Page 103                                                 Page 105

 1    Abbott -- ever tell anybody from Abbott, Dey, or   1               (Deposition in recess, 10:58 a.m.
 2    Roxane that it wanted them to purposely increase   2    to 11 :08 a.m.)
 3    the spreads on their products to help them sell    3           THE VIDEOGRAPHER: This is the
 4    more drugs?                                        4    continuation of tape No.2. Going on the record
 5           MR. ROBBEN: Object to the form.             5    at 11 :08 a.m.
 6           MR. COLE: Object to the form.               6
 7       A. No.                                          7              EXAMINATION
 8           MR. COLE: Is there a question pending,       8   BY MR. ROBBEN:
 9    or did he answer the last question?                 9      Q. Good morning, Mr. Dubberly. I
10           MR. LAVINE: He answered the last            10   introduced myself at the beginning, but I'll say
11    question.                                          11   again my name is Philip Robben, and I represent
12           MR. COLE: What was the answer?              12   the Dey defendants in the case.
13           THE WITNESS: No.                            13             (Whereupon a document was
14           MR. COLE: Thank you.                        14   identified as Exhibit Georgia 019.)
15       Q. (By Mr. Lavine) Can you explain the          15      Q. (By Mr. Robben) The court reporter has
16    manner in which the State of Georgia would         16   put in front of you a document we've marked as
17    reimburse for what it considers to be compounded   17   Exhibit No. 19, and it's an Amended Cross-Notice
18    drugs.                                             18   of Deposition of the State of Georgia Department
19       A. Compounded drugs we reimburse at the         19   of Community Health. And this was issued by the
20    sum of the AWPs of the ingredients of the          20   Dey and -- and Roxane defendants.
21    compound plus a dispensing fee.                    21          Have you seen this document before?
22       O. And what is the difference between a         22      A. It looks familiar.
                                                                              27 (Pages 102 to 105)
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